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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                     25-1555
                                 No. __________________
                                     We Inform LLC, et al.
Atlas Data Privacy Corp., et al. vs. ______________________________
________________________________


              7/8/2025
Calendar Date _______________                          Philadelphia, PA
                                              Location _____________________


           DIVISION OF ARGUMENT TIME FOR MULTIPLE COUNSEL

The Court of Appeals for the Third Circuit requests counsel for each side to divide the
allotted argument time among the parties when multiple briefs are filed by multiple counsel. In
many instances, the Court discourages multiple counsel arguing when a joint brief is filed. If
multiple counsel request argument when a joint brief is filed, counsel must indicate the party
or issue(s) and the division of time for each counsel, and such requests will be submitted to
the Court for approval prior to oral argument.

Counsel for Appellant(s), Petitioner(s), or Intervenor(s) in order of argument:

     Name of Counsel             Division of Time             Party/Issue(s)

_______________________          ______________          ______________________

_______________________          ______________          ______________________

_______________________          ______________          ______________________

Counsel for Appellee(s), Respondent(s), or Intervenor(s) in order of argument:

     Name of Counsel             Division of Time              Party/Issue(s)
David Boies
_______________________          10 min.
                                 ______________          Appellees
                                                         ______________________
Michael L. Zuckerman
_______________________          5 min.
                                 ______________          Intervenor
                                                         ______________________

_______________________          ______________          ______________________
